Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 1 of 20 Page ID #:34




                              EXHIBIT B
         Case 5:21-cv-01136-DSF-E
 TELEPHONE NO.:310-982-2984       Document     1-3 Filed 07/07/21 Page 2 of 20 Page ID #:35
                                     FAX NO.: 818-963-5954

 E-MAIL ADDRESS:    jeremy@mossbollinger.com
 ATTORNEY FOR (Neme):    Plaintiff David Walker
 SUPERIOR COURT OF CALIFORNIA, COUNTY OFSan Bernardino
  STREET ADDRESS: 247 West Third Street
  MAILING ADDRESS:
 CITY ANO ZIP CODE:    San Bernardino, CA 92415-021 o
      BRANCH NAME:     San Bernardino District - Civil Division l

         Plaintiff/Petitioner: David Walker
 Defendant/Respondent: Howmet Aerospace, Inc., et al.

                                                                                                        CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT-CIVIL
                                                                                                               CIV DS 2022311
TO (insert name of party being served): Schlosser Forge Company
                                                   -----~-~-------------------------
                                                                               NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you In any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to ~e-sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing:                 November 30, 2020

                                       Lea Garbe
                                   (TYPE OR PRINT NAME)                                 •     {SIGNATURE OF SENDER- MUST NOT BE A PARTY IN THIS CASE)




                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before maillng):

1.   0       A copy of the summons and of the complaint.
2.   0       Other (specify):

             Civil Case Cover Sheet;
             Case Management Order
             Certificate of Assignment

(To be completed by recipient):

Date this form is signed: _ _         /.-='c).
                                           '---.;._(----"'-[~h..,.d.c.=->.D
                                                                          o"--- - - -
     -z; J_J t0 c,) Y\\1 ffi_.
               (TYPE OR PRINT YOUR NAME AND NAr.lE OF ENTITY, IF ANY,   e_.o •             SIGNATURE OF PERSON A   OWLEDGING RECEIPT, WITH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                              ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                   Page 1 of

Form Adopted for Mandalory Use             NOTl~F ANn Ar.KN OWi Fn(.;MFNT OF RFr.FIPT -                     r.1v11                     Code of Civil Procedur
           Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 3 of 20 Page ID #:36

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          Jeremy F. Bollinger (SBN 240132
          Moss Bollinger, LLP
          15300 Ventura Boulevard, Suite 207
          Shcnnan Oaks, CA 91403
                   ,,c 3] 0-982-2984
                     Ti,,,,,,,'\E                        818-963-5954
                        Plaintiff David Walker
     suPERIOR couRT oF CAL1FoRN1A. couNTY OF San Bernardino
                        247 West Third Street

                                                         San Bernardino, CA 92415-0210
                                                         San Bernardino District - Civil Division

          Walker v. Howmet Aeros ace, Inc. et al.
               CIVIL CASE COVER SHEET                                                                                    Complex Case Designation
     [lJ             Unlimited                                 D               Limited
                                                                                                                   D        Counter                  D             Joinder
                                                                                                                                                                                                                             2022311
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            den1anded                             dernanded 1s                   Fded vvith first appearance by defendant
~    .____ _e_x_ct:_:P_:,d_s_S_2_5_.C_·G_C-')-,_ _s_2_s_,,_,C_•O_or_l_e_s_s_).___ __;1._C_a_L_R_L_1!_e_s_o_.f_C_o_u_•r_t._r_u_le_3_._4_0_2-'-:- - - ' - - - - - - - - - - - - - - - - - _ J
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            Auto Tort                                                                                            Contract                                                       Provisionally Complex Civil Litigation
cc                                                                                                               D 8r0acr, ofccntrcic~-\, ,atT'.l'.~:ty \Gfi:
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                                                                                                                                                            1                   (Cal. Rules of Court, rules 3.400--3.403)
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           Other PIIPD/WD (Personal Injury/Property                                                              D Cr-1•::r c~nllect;urs ~09}                                   D     C0Pstruc'.:cr1 def::::ct (10.J
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           D              PY(;GUCt i:dt)i!ity 124,l                                                              Real Property                                                  D      E:0v•rs)nrT~Y;ti::il/Tox1c tort t 3C)
           D              id~:-d1c,)I r."-dlprc1cticn (J5,;                                                      D Eminent domain.·!n',erse                                     D
           D              Other PL PDi'i'/D -.23J                                                                       co 1de!f;nat1G1 1+    \   ·1 .. 1                                                                         ccmp1ex casa
            Non-P!iPDiV'/D (Other) Tort                                                                          D \1\ircngfu! evict<;n               (33)

           D              B~;sw,e•·;s trJrt,-unfair                        ~;t~sll;es·-;       oractic& i 07 l   D Otnr~r r,:-,,al property (26J                                Enforcement of Judgment

           D              C1vi! nqht·::.: \08/                                                                   Unlawful Detainer                                              D     E-1fo"",::t:;n~0nt of 1u'lgi11i;.H~l

           D              Dt:f::1rni1tinrr ( ·t 3,                                                               D Cornmerciai (3·1 i                     Miscellaneous Civil Complaint
           D              Fraud (16J-                                                                            D Re-s1der tial 1
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                                                                1                                                Judicial Review                          Miscellaneous Civil Petition
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           [ZJ            Other en1pioy 1n2nt t 15 .1                                                                   Other juC,cial reviev1139}
     2.      This case                                complex under rule 3-400 of the Cal1forn1,1 Rules of Court. If t:,e case 1s complex. mark the
                                                          is                            ,s not
             factors requiring exceptional JL1dio1al management:
             CL      D              Large nurnber of separately represented parties                                                     d.    D                 Larae nurnber of Yv:tne~~ses
             t:::.   D              Ex:e::;>.,;; n:cLc,11 ;..,r,.:1.... ~ic0 rais;ng dif1i:ult Jr nov0l                                 t:.   D                 Cot;rdd)Jt\on vviih related ctCtions p(~nding in one or more courts
                                    Issues that will be t!rne~consun·1ing to resolve                                                                            !1; othf:'.~I count!e;s, states. er countries, or in a federal court
                     D              Substantial arrounl cf docurner•tary evidence                                                        D Substantial postjudgn1ent judicial supervision
                                                                                                                                        f.

     3.      Rernedies sougr<t (Cli<::cf.: d:I that apply) a.[Z] monetary                                                            b. D nonn~cnetar/: declaratory ,:Jr injunctive retef                                               c Drunitive
     4.      f\Jumber of causes of action (specify).·                                                     1 (PAGA)
     5.      T'11s case                     [ZJ           is               D
                                                                     1s not a class action suit,
     6.      lf t!"le,re are               Rfl1/         known related cases. file a11d serve a notice of rc-.-!ated case.                                              (You ,ray          /'orrn C!vf-0 i 5           .I


     Daw.            October 13, 2020
     Jeremy F. Bollinger
                                                                                                                                     NOTICE
          • F'!aintiff ri1ust fiie this covE:r sheet with the first oacer filed in the action or proce1::dmq (exceot srna!I clairns cases or cases fi!sd
            under the Probate Cod,.,. Fa1111ly Code. or Welfar~ a1,d lnst,tutions Code}. (Cal. Rules of Court rule 3.220.) Fadure to file n,ay result
            in sanctions,
          • File this cover sheet ,n add t,on to any cover shee 1 reouired bv local court rule,
          • If t11is case is ccrnp!c>x c,nder rule 3.400 et seq, of the Califorr:,a Rules of Court. you must ser,;e c1 copy of this cover sr1eet on all
            other pariies to the a-:tic-n er proceedir;g_
          • Unless ths is a collect,on.s case untier rule 3. ?JO or a con1ple:, case. this co,1er si1eet will be us 0, 1.i for statistical purposes only,
                                                                                                                                                                                                                                                       P:1 ,~ l of 2

                                                                                                                 CIVIL CASE COVER SHEET
              Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 4 of 20 Page ID #:37

                                                                                                                                    COPY                                                                SUM-1O0
                                                              SUMMONS                                                                                           FOR COURT USE ONLY
                                                                                                                                                            .SOLOf'IIR4 l.'SO DE LIi CORffl
                                                        (GITA CION JUDICIAL)
        NOTICE TO DEFENDANT:
        (AV/SO AL DEMANDADO):
         HOWMET AEROSPACE. INC ., a Delaware corporation: SCHLOSSER
         FORGE COMPANY. a Delaware corporation; and DOES 1-50
       YOU ARE BEING SUED BY PLAINTIFF :
       (LO ESTA DEMANDANDO EL DEMA NOANTE):
        DAVID WALKER, an individual, on behalfofhimselfand al l others
        similarly siniated
          NOTICE! Yot, ha~e been sued, T'ie ~our. may de,;1(le aga<rsl 1cu •,\lthc,ul your beuig ~e.:ird unless you r.-,scond .~111111, 30 ctays Rla?aci lne ,nfurnat,on


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         Ontino: Se!f-re•~ Cenler (w11,w co111t:rrfo .:,1 gc:1 se,f'f't:Iµ ) yOt1r ::ounty law ilbrar~ or Irie courthOLl~E- n-eares1 you If you ca'lrot pay 1t,e fil ng lee a!:i~

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         referral ser~ice. If /OU cari1101 afford an att•Jrn~y. y<>u may bi: eligible for fr,ie legal ser11ces froni a nonprofit legal services orogram. You can 1oca1e
         fl1P.sl' ro1•prc~I groups ell the Cal1for-·,1a Legal Services Web site 1www.lawl-,:1pcat,icm1a..,rg1 the Caltforn,;i Courts On1111e Self-Help Cemer
         1 www i::,JC1rlin(o Ci' go1nselfl1elp1. or oy co,-tact ng you, hical couri or county car association. NOTE: Ttle court 11as a statutory ilen fo< N3Mld fet?s ana
         r;osts on a11y se1tlemen1 or arbilrat,or award of S,0,00C or more ,n 3 CIVIi case. The court's lien must te pa,d before tne court will d1sm,ss th,i case.
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       payar el gra-,,1men de 1,1 ccrta ,,mes de que .., co,te pw,da rl<:sgc/wr el c<'lso.
     The name and address of the court is:                                                                                            ,~A.h ' J',1':::E ~
                                                                                                                                       V1.,.,,,         ~l,c'.'t
     tEI ncmbre y d,reccioo de !a eerie es!'                      San Bernardino County Superior Cornt                                            Jf•


      24 7 West Third Street                                                                                                          CIV D
      San Bernardino. CA 924 I 5-0210
     The name, address. and telephone number of plainti ffs attorney or plaintiff wIIJ1out an attorney Is
     (El nomb1:J. la dirf:lcc16n .v el nrjmero dQ telif:fonc de! abcgado de! d,?f'1d1'rlanre. ode! demandante c;uo no Ilene abogadc, 0$}
     Jeremy F. Bollinger, 15300 Ventura Boulevard, Suite 207, Sherman Oaks, CA 91403, (310) 982-2984

      DATE                                                                Clerk, by                                                                                                                  . Depu ty
      1Fecha/                                   OCT 1 3 2020              /SecretarioJ             Nathaniel                                                       Johnson                            (Adjumo)
     /For proof of service of this summons, use Proof oi Ser11ce oi Summon s {form POS-010) .)
     1Para pweba do encrega de es/a cit:1/16n use el formulano P roof of Service of Summons. (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are ser,ecl
       l'::E, ..J
                                       1.                     D
                                               as an 1nd,v1dual defendant.
                                       2.                     D
                                               as lhe person sued under tile fictitious narne of (specify):


                                                         3.   D    on behal' oi ,specrfv):

                                                              under-   D    CC P -1 16.10 (corporation)
                                                                                                                                       D            CCP 4 16.60 (minor}
                                                                       D    CCP -116.20 (defunct corpora(1on)                          D            CCP 4 16,70 (conservatee)
                                                                       D    CCP 4 16..J0 (assoc1at1on or partnership,                  D            C CP -11 6.90 (a,nhonzed person)
                                                                       D   other (specrfy}.
                                                         4.   D    by personal d e livery on (dale)
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Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 5 of 20 Page ID #:38


            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

 San Bernardino District - Civil
 247 West Third Street

 San Bernardino CA 924150210



                                             CASE NO: CIVDS2022311
   MOSS BOLLINGER, LLP
   15300 VENTURA BLVD
   SUITE 2070
   SHERMAN OAKS CA 91403




            I MP O R T A N T     C O R R E S P O N D E N C E

 From the above entitled court, enclosed you will find:

                      INITIAL COMPLEX ORDER AND GUIDELINES




                  CERTIFICATE OF SERVICE
 I am a Deputy Clerk of the Superior Court for the County of San
 Bernardino at the above listed address. I am not a party to this
 action and on the date and place shown below, I served a copy of the
 above listed notice:
  ( ) Enclosed in a sealed envelope mailed to the interested party
 addressed above, for collection and mailing this date, following
 standard Court practices.
 ( ) Enclosed in a sealed envelope, first class postage prepaid in the
 U.S. mail at the location shown above, mailed to the interested party
 and addressed as shown above, or as shown on the attached listing.
 ( ) A copy of this notice was given to the filing party at the counter
 ( ) A copy of this notice was placed in the bin located at this office
 and identified as the location for the above law firm's collection of
 file stamped documents.

 Date of Mailing: 10/30/20
 I declare under penalty of perjury that the foregoing is true and
 correct. Executed on 10/30/20 at San Bernardino, CA

                                           BY: ALFIE CERVANTES


                MA I L I N G     C O V E R    S H E E T
Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 6 of 20 Page ID #:39




                                                                SupERIORFILED
                                                                        COURT OF CALIFORNIA
     1   Superior Court of California                             COUNTY OF SAN BERNARDINO
         County of San Bernardino                                  SAN BERNAROINO DISTRICT
     2   247 W. Third Street, Dept. S-26
         San Bernardino, CA 92415-0210                                OCT 2 9 2020
     3

     4
     5
     6
     7
     8
                                       SUPERIOR COURT OF CALIFORNIA
     9
                     COUNTY OF SAN BERNARDINO, SAN BERNARDINO DISTRICT
    10

    11    WALKER                                         Case No.: CIVDS 2022311

    12
    13
                   vs.
    14
    15
                                                         INITIAL CASE MANAGEMENT
    16    HOWMET AEROSPACE                               CONFERENCE ORDER

    17
    18

   19

   20
   21
                This case is assigned for all purposes to Judge David Cohn in the Complex
   22
   23    Litigation Program, Department S-26, located at the San Bernardino Justice Center, 247

   24    West Third Street, San Bernardino, California, 92415-0210. Telephone numbers for
   25
         Department S-26 are (909) 521-3519 (Judicial Assistant) and (909) 708-8866 (Court
   26
         Attendant).
   27
   28



                                                   -1-
Case 5:21-cv-01136-DSF-E Document 1-3 Filed 07/07/21 Page 7 of 20 Page ID #:40




                                    The Initial Case Management Conference
     1
     2           An initial Case Management Conference (CMC) is scheduled for                Jt\N 2 6 2021
     3   at 9:00 a.m. Due to the social distancing requirements imposed by the COVID-19
     4
         pandemic, the initial CMC (and all subsequent CMCs) will be conducted remotely, via
     5
         CourtCall. Contact CourtCall at (888) 882-6878 (www.CourtCall.com) to schedule the
     6
     7   appearance through CourtCall. Until further order of the Court, in-person attendance at

     8   CMCs is not allowed. 1

     9           Counsel for all parties are ordered to attend the initial CMC. If there are
    10
         defendants who have not yet made a general or special appearance, those parties who
    11
         are presently before the court may jointly request a continuance of the initial CMC to
    12

    13   allow additional time for such non-appearing defendants to make their general or

    14   special appearances. Such a request should be made by submitting a Stipulation and
    15   Proposed Order to the Court, filed directly in Department S-26, no later than five court
    16
         days before the scheduled hearing.
    17
                                               Stay of the Proceedings
    18

    19           Pending further order of this Court, and except as otherwise provided in this

   20    Order, these proceedings are stayed in their entirety. This stay precludes the filing of
   21
         any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the
   22
         Court. Each defendant, however, is directed to file a Notice of General Appearance (or
   23
   24    a Notice of Special Appearance if counsel intends to challenge personal jurisdiction) for

   25    purposes of identification of counsel and preparation of a service list. The filing of a

   26
   27
                 1 In-person appearances are allowed for motions, but are discouraged. Until the Pandemic
   28    restrictions are lifted, please use CourtCall whenever possible.




                                                             -2-
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         Notice of General Appearance is without prejudice to any substantive or procedural
     1

     2   challenges to the complaint (including subject matter jurisdiction), without prejudice to

     3   any denial or affirmative defense, and without prejudice to the filing of any cross-
     4
         complaint. The filing of a Notice of Special Appearance is without prejudice to any
     5
         challenge to the court's exercise of personal jurisdiction. This stay of the proceedings is
     6
         issued to assist the court and the parties in managing this case through the
     7
     8   development of an orderly schedule for briefing and hearings on any procedural or

     9   substantive challenges to the complaint and other issues that may assist in the orderly
    10
         management of this case. This stay shall not preclude the parties from informally
    11
         exchanging documents and other information that may assist them in their initial
    12
    13   evaluation of the issues.

    14                                     Service of this Order

    15          Plaintiffs' counsel is ordered to serve this Order on counsel for each defendant,
    16
         or, if counsel is not known, on each defendant within five days of the date of this Order.
    17
         If the complaint has not been served as the date of this Order, counsel for plaintiff is to
    18
    19   serve the complaint along with this Order within ten days of the date of this Order.

    20                   Agenda for the Initial Case Management Conference
    21
                Counsel for all parties are ordered to meet and confer in person no later than ten
    22
         days before the initial CMG to discuss the subjects listed below. Counsel
    23
         must be fully prepared to discuss these subjects with the court:
    24
    25      1. Any issues of recusal or disqualification;

    26      2. Any potentially dispositive or important threshold issues of law or fact that, if
    27
                considered by the court, may simplify or further resolution of the case;
    28
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            3. Appropriate mechanisms for Alternative Dispute Resolution;
     1
     2      4. A plan for the preservation of evidence and a uniform system for the identification

     3          of documents to be used throughout the course of this litigation, including
     4
                discovery and trial;
     5
            5. A discovery plan for the disclosure and production of documents and other
     6
                discovery, including whether the court should order automatic disclosures,
     7
     8          patterned on Federal Rule of Civil Procedure 26(a) or otherwise;

     9      6. Whether it is advisable to conduct discovery in phases so that information
    10
                needed to conduct meaningful ADR is obtained early in the case;
    11
            7. Any issues involving the protection of evidence and confidentiality;
    12

    13      8. The use and selection of an electronic service provider;

    14      9. The handling of any potential publicity issues;
    15      10.Any other issues counsel deem appropriate to address with the court.
    16
                                                 The Joint Report
    17
                Counsel are ordered to prepare a Joint Report for the initial CMC, to be filed
    18
    19   directly in Department S-26 (not in the Clerk's office), no later than four court days

    20   before the conference date. The Joint Report must include the following:
    21
            1. Whether the case should or should not be treated as complex;
    22
            2. Whether additional parties are likely to be added and a proposed date by which
    23
                all parties must be served;
    24
    25      3. A service list (the service list should identify all primary and secondary counsel,

    26          firm names, addresses, telephone numbers, email addresses, and fax numbers
    27
                for all counsel.)
    28




                                                      -4-
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           4. Whether the court should issue an order requiring electronic service. Counsel
     1
     2         should advise the court regarding any preferred web-based electronic service

     3         provider;
     4
           5. Whether any issues of jurisdiction or venue exist that might affect this court's
     5
               ability to proceed with this case.
     6
           6. Whether there are applicable arbitration agreements, and the parties' views on
     7

     8         their enforceability;

     9     7. A list of all related litigation pending in this or other courts (state and federal), a
    10
               brief description of any such litigation, including the name of the judge assigned
    11
               to the case, and a statement whether any additional related litigation is
    12

    13         anticipated;

    14      8. A description of the major factual and legal issues in the case. The parties
    15         should address any contracts, statutes, or regulations on which claims or
    16
               defenses are based, or which will require interpretation in adjudicating the claims
    17
               and defenses;
    18

    19      9. The parties' tentative views on an ADR mechanism and how such mechanism

    20         might be integrated into the course of the litigation;
    21
            10.A discovery plan, including the time need to conduct discovery and whether
    22
               discovery should be conducted in phases or limited (and, if so, the order of
    23
               phasing or types of limitations). With respect to the discovery of electronically
    24
    25         stored information (ESI ), the plan should include:

    26             a. Identification of the Information Management Systems used by the parties;
    27
    28



                                                      -5-
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                    b. The location and custodians of information that is likely to be subject to
      1
      2                  production (including the identification of network and email servers and

      3                  hard-drives maintained by custodians);
      4
                    c. The types of ESI that will be requested and produced, e.g. data files,
      5
                         emails, etc.;
      6
                    d. The format in which ESI will be produced;
      7
      8             e. Appropriate search criteria for focused requests.

      9             f.   A statement whether the parties will allow their respective IT consultants
     10
                         or employees to participate directly in the meet and confer process.
     11
             11. Whether the parties will stipulate that discovery stays or other stays entered by
     12

    13          the court for case management purposes will be excluded in determining the

     14          statutory period for bringing the case to trial under Code of Civil Procedure
     15          Section 583.310 (the Five Year Rule).
     16
             12. Recommended dates and times for the following:
    17
                    a. The next CMC;
    18

     19             b. A schedule for any contemplated ADR;

    20              c. A filing deadline (and proposed briefing schedule) for any anticipated
    21
                         non-discovery motions.
    22
                    d. With respect to class actions, the parties' tentative views on an
    23
                         appropriate deadline for a class certification motion to be filed.
    24
    25           To the extent the parties are unable to agree on any matter to be addressed in

    26    the Joint Report, the positions of each party or of various parties should be set forth
    27
          separately. The parties are encouraged to propose, either jointly or separately, any
    28




                                                        -6-
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          approaches to case management that they believe will promote the fair and efficient
      1
      2   handling of this case.

      3          Any stipulations to continue conferences or other hearings throughout this
      4
          litigation must be filed with the court directly in Department S-26 (not in the Clerk's
      5
          office), no later than four court days before the conference or hearing date.
      6

      7                               Informal Discovery Conferences

      8          Motions concerning discovery cannot be filed without first requesting an informal

      9   discovery conference (IDC) with the court. Making a request for an IDC automatically
     10
          stays the deadline for filing any such motion. IDCs are conducted remotely, via the
    11
          BlueJeans Video Conferencing program. Attendees will need to download the
     12

    13    BlueJeans program (available from the app stores for IOS or Android) to a computer,

    14    laptop, tablet, or smartphone. If the device being used does not have camera
    15
          capability, the Bl'ueJeans application offers an audio-only option. Video appearance at
    16
          the IDC, however, is encouraged. The Court will provide a link to join the conference at
    17
          the appointed time. Please provide Department S-26's Judicial Assistant ((909) 521-
    18
    19    3519) or Court Attendant ((909) 708-8866) with an e-mail address. No briefing is

    20    required for the IDC, but counsel should lodge (not file) the relevant discovery record in
    21
          Department S-26 before the IDC.
    22
    23
    24

    25
    26
                      /
          Dated: - -- +
                          V /·z}]
                        - - - - - - , 2020.
                      I

    27                                                            UAVIDCOHN
    28                                                       David Cohn,
                                                             Judge of the Superior Court



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                 GUIDELINES FOR THE COMPLEX LITIGATION PROGRAM

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                    COUNTY OF SAN BERNARDINO


                                          JUDGE DAVID COHN
                                           DEPARTMENT S-26


                                        JUDGE JANET FRANGIE
                                           DEPARTMENT S-29




 THE SAN BERNARDINO COUNTY COMPLEX LITIGATION PROGRAM

          The Complex Litigation Department for the Superior Court of the State of California,
 County of San Bernardino, is located at the San Bernardino Justice Center, 247 West Third
 Street, San Bernardino, CA 92415-0210. The Complex Litigation judges are Judge David Cohn,
 Department S-26, and Judge Janet Frangie, Department S-29. Telephone numbers for
 Department S-26 are 909-521-3519 0udicial assistant) and 909-708-8866 (court attendant).
 Telephone numbers for Department S-29 are 909-521-3461 (judicial assistant) and 909-521-
 3467 (court attendant)


         These guidelines govern complex litigation only in Departments S-26 and S-29. When
 complex cases are assigned to other Departments, the judges may or may not choose to
 follow all or some of these guidelines.

 DEFINITION OF COMPLEX LITIGATION

         As defined by California Rules of Court, rule 3.400(a), a complex case is one that
 requires exceptional judicial management to avoid placing unnecessary burdens on the court
 or the litigants and to expedite the case, keep costs reasonable, and promote effective
 decision making by the court, the parties, and counsel.




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               Complex cases typically have one or more of the following features:

                  •   A large number of separately represented parties.
                 •    Extensive motion practice raising difficult or novel issues that will be time-
                      consuming to resolve.
                 •    A substantial amount of documentary evidence.
                 •    A large number of witnesses,
                 •    Coordination with related actions pending in one or more courts in other
                      counties or states or in a federal court.
                 •    Substantial post-judgment judicial supervision.

           Complex cases may include, but are not necessarily limited to, the following types of
           cases:

                 •    Antitrust and trade regulation claims.
                 •    Construction defect claims involving many parties or structures.
                 •    Securities claims or investment losses involving many parties.
                 •    Environmental or toxic tort claims involving many parties.
                 •    Mass torts.
                 •    Class actions.
                 •    Claims brought under the Private Attorney General Act (PAGA).
                 •    Insurance claims arising out of the types of claims listed above.
                 •    Judicial Council Coordinated Proceedings (JCCP).
                 •    Cases involving complex financial , scientific, or technological issues.

CASES ASSIGNED TO THE COMPLEX LITIGATION DEPARTMENT

    A. Cases Designated by a Plaintiff as Complex or Provisionally Complex

       All cases designated by a plaintiff as complex or provisionally complex on the Civil Case Cover
Sheet (Judicial Council Form CM-100) will be assigned initially to the Complex Litigation Department.
The Court will issue an Initial Case Management Conferenee Order and schedule an Initial Case
Management Conference as provided by California Rules of Court, rule 3.750, for the earliest
practicable date, generally within approximately seventy-five days of the filing of the complaint.

       A plaintiff designating the case as complex or provisionally complex must serve the Initial Case
Management Conference Order and a copy of these guidelines on all parties at the earliest
opportunity before the conference, and must file proof of service of the summons and complaint and
proof of service of the Initial Case Management Conference Order with the court.

      A defendant who agrees that the case is complex or provisionally complex may indicate a
"Joinder" on the Civil Case Cover Sheet (Form CM- 100).

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        A defendant who disagrees that the case is complex or provisionally complex may raise the
 issue with the court at the Initial Case Management Conference.

     B. Cases Counter-Designated By a Defendant as Complex or Provisionally Complex

         All cases which were not designated by a plaintiff as complex or provisionally complex, but
 whi<::h are counter-designated by a defendant (or cross-defendant) as complex or provisionally
 complex on the Civil Case Cover Sheet (Judicial Council Form CM-100), will be re-assigned to the
 Complex Litigation Department. At such time, the Court will schedule an Initial Case Management
 Conference for the earliest practicable date, generally within approximately forty-five days. A
 defendant (or cross-defendant) counter-designating the case as complex or provisionally complex
 must serve a copy of these guidelines on all parties at the earliest opportunity.

      A plaintiff or other party who disagrees with the counter-designation may raise the issue with
the court at the Initial Case Management Conference.

     C. Other Cases Assigned to the Complex Litigation Departr:nent

        Whether or not the parties designate the case as complex or provisionally complex, the
following cases will be initially assigned to the Complex Litigation Department:

     •   All Construction Defect Cases.
     • All Class Actions.
     •   All Cases Involving Private Attorney General Act (PAGA) Claims.1
     •   Judicial Council Coordinated Proceedings (JCCP) if so assigned by the Chair of the Judicial
         Council.

REFERRAL TO THE COMPLEX LITIGATION DEPARTMENT BY OTHER DEPARTMENTS

        A judge who is assigned to a case may, but is not required to, refer the case to the Complex
Litigation Department to be considered for treatment as a complex case if (1) the case was previously
designated by a party as complex or provisionally complex, or (2) the referring judge deems the case
to involve issues of considerable legal, evidentiary, or logistical complexity, such that the case would
be best served by assignment to the Complex Litigation Department. Such a referral is not a re-
assignment, but is a referral for consideration.

        In any case referred by another judge to the Complex Litigation Department, the Complex
Litigation Department will schedule an Initial Case Management Conference, generally within thirty
days, and will provide notice to all parties along with a copy of these guidelines. If the case is
determined by the Complex Litigation Department to be appropriate for treatment as a complex case,
the case will be re-assigned to the Complex Litigation Department at that time. If the case is
determined by the Complex Litigation Department not to be complex, it will be returned to the
referring judge.

         The Civil Case cover Sheet (Judicial Council Form CM-100) may not reflect the presence of a PAGA claim. PAGA claims
erroneously assigned to non-complex depart ments are subject to re-assignment to t he Complex litigat ion Depart ment by the
assigned Judge.



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 STAY OF DISCOVERY PENDING THE INITIAL CASE MANAGEMENt CONFERENCE

        For cases that are assigned to the Complex Litigation Department, discovery is automatically
stayed pending the Initial Case Management Conference, or until further order of the court.
Discovery is not automatically stayed, however, for cases that were initially assigned to other
departments and are referred to the Complex Litigation Department for consideration, unless the
referring judge stays discovery pending determination by the Complex Litigation whether the case
should be treated as complex.


OBLIGATION TO MEET AND CONFER BEFORE THE INITIAL CASE MANAGEMENT
CONFERENCE

      Prior to the Initial Case Management Conference, all parties are required to meet and confer to
discuss the items specified in California Rules of Court, rule 3.750(b) , and they are required to
prepare a Joint Statement specifying the following:

    •   Whether additional parties are likely to be added, and a proposed date by which any such
        parties must be served.
    •   Each party's position whether the case should or should not be treated as a c0mplex.
    •   Whether there are applicable arbitration agreements.
    •   Whether there is related litigation pending in state or federal court.
    •   A description of the major legal and factual issues involved in the case.
    •   Any discovery or trial preparation procedures on which the parties agree. The parties should
        address what discovery will be required, whether discovery should be conducted in phases or
        otherwise limited, and whether the parties agree to electronic service and an electronic
        document depository and, if so, their preferred web-based electronic service provider.
    •   An estimate of the time needed to conduct discovery and to prepare for trial.
    •   The parties' views on an appropriate mechanism for Alternative Dispute Resolution.
    •   Any other matters on which the parties request a court ruling.

   The Joint Statement is to be filed directly in the Complex Litigation Department no later
than four court days before the conference. This requirement of a Joint Statement is not satisfied
by using Judicial Council Form CM-110, pursuant to California Rules of Court, rule 3 .725(a), or by
parties filing individual statements. Failure to participate meaningfully in the "meet and confer"
process or failure to submit a Joint Statement may result in the imposition of monetary or other
sanctions.

THE INITIAL CASE MANAGEMENT CONFERENCE

       At the Initial Case Management Cohference, the court will determine whether the action is a
complex case, as required by California Rules of Court, rule 3.403. If the court determines the case is
complex, the court will issue further management-related orders at that time. If the court determines
the case is not complex, the case may be retained by the judge, but not treated as a complex case, or
it may be reassigned to a different department; if the case was referred by another judge and the
case is found to be inappropriate for treatment as a complex case, the case will be returned to the

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 referring judge.

         At the Initial Case Management Conference, the court and counsel will address the subjects
 listed in Californi•a Rules of Court, rule 3.750(b), and all issues presented by the Joint Statement.

        Once a case is deemed complex, the function of the Initial Case Management Conference and
 all subsequent Case Management Conferences is to facilitate discovery, motion practice, and trial
 preparation, and to discuss appropriate mechanisms for settlement negotiations.

       Lead counsel should attend the Initial Case Management Conference. Counsel with secondary
responsibility for the case may attend in lieu of lead counsel, but only if such counsel is fully informed
about the case and has full authority to proceed on all issues to be addressed at the conference.
"Special Appearance" counsel (lawyers who are not the attorneys of record) are not allowed.

REMOTEAPPEARANCESATCASEMANAGEMENTCONFERENCES

       Pending further order of the Court, all Case Management Conferences will be conducted
remotely, via CourtCall, without in-person attendance of counsel or parties. CourtCall appearances
are scheduled by telephoning CourtCall at (888) 882-6878. See www.CourtCall.com for further
information.

CASE MANAGEMENT ORDERS

        The court may issue formal, written case management orders. Typically, complex construction
defect cases will proceed pursuant to such an order. Other cases involving numerous parties or
unusual logistical complexity may be appropriate for such a written order as well. The need for a
written case management order will be discussed at the Initial Case Management Conference or at
later times as the need arises. The parties will prepare such orders as directed by the court.

ADDITIONAL CASE MANAGEMENT CONFERENCES

     After the Initial Case Management Conference, the court will schedule additional case
management conferences as necessary and appropriate on a case-by-case basis.

       As with the Initial Case Management Conference, lead counsel should attend all case
management conferences. Counsel with secondary responsibility for the case may attend in lieu of
lead counsel , but only if such counsel is fully informed about the case and has full authority to
proceed on all issues to be addressed. "Special Appearance" counsel (lawyers who are not the
attorneys of record) are not allowed. As with the initial Case Management Conference, until further
order of the Court, all additional case management conferences are conducted remotely, via
CourtCall.

VOLUNTARY SETTLEMENT CONFERENCES

       If all parties agree, the court is available to conduct settlement conferences. Requests for
settlement conferances may be made at any Case Management Conference or hearing, or by
telephoning the Complex Litigation Department.



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 MANDATORY SETTLEMENT CONFERENCES

        In appropriate cases, the court may order mandatory settlement conferences. Parties with full
 settlement authority, including insurance adjusters with full settlement authority, must attend all
 mandatory settlement conferences.

 MANAGEMENT OF CLASS ACTIONS

        In class actions and putative class actions that are deemed complex, the Initial Case
 Management Conference will function as the Case Conference required by California Rules of Court,
 rules 3 .762 and 3.763.

OBLIGATION TO MEET AND CONFER REGARDING MOTIONS

         In addition to any other requirement to "meet and confer" imposed by statute or Rule of Court
in connection with motions, all counsel and unrepresented parties are required to "meet and confer"
in a good faith attempt to eliminate the necessity for a hearing on a pending motion, or to resolve or
narrow some of the issues. The moving party must arrange for the conference, which can be
conducted in person or by telephone or video conference, to be held no later than four calendar days
before the hearing. No later than two calendar days before the hearing, the moving party is required
to file a notice in Department S-26, with service on all parties, specifying whether the conference has
occurred and specifying any issues that have been resolved. If the need for a hearing has been
eliminated, the motion may simply be taken off-calendar. Failure to participate meaningfully in the
conference may result in the imposition of monetary or other sanctions.

      The obligation to "meet and confer" does not apply to applications to appear pro hac vice or to
motions to withdraw as counsel of record .

FORMAT OF PAPERS FILED IN CONNECTION WITH MOTIONS

        Counsel and unrepresented parties must comply with all applicable statutes, Rules of Court,
and Local Rules regarding motions, including but not limited to their format. Additionally, exhibits
attached to motions and oppositions must be separately tabbed at the bottom, so that exhibits can be
easily identified and retrieved .

ELECTRONIC SERVICE AND DOCUMENT DEPOSITORY

       The parties in cases involving numerous parties or large quantities of documents are
encouraged to agree to electronic service for all pleadings, motions, and other materials filed with the
court as well as all discovery requests, discovery responses, and correspondence . Nevertheless,
parties must still submit "hard" copies to the court of any pleadings, motions, or other materials that
are to be filed.

INFORMAL DISCOVERY CONFERENCES

       The court is available for informal discovery conferences at the request of counsel. Such


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 conferences may address the scope of allowable discovery, the order of discovery, issues of
 privilege, and other discovery issues that may arise. Counsel may contact the Complex Litigation
 Department to schedule an informal conference.

          Before filing any discovery motion, the moving party is required to "meet and confer" with
 counsel as required by statute. If the "meet and confer" exchange fails to resolve all issues, the
 moving party is required to request an informal conference with the court before filing any discovery
 motion. Making a request for an informal discovery conference automatically stays the deadline for
 filing a motion.

        Informal Discovery Conferences are conducted remotely, via the BlueJeans Video
 Conferencing. Attendees will need to download the BlueJeans program (available from the app
 stores for 10S or Android) to a computer, laptop, tablet, or smartphone. If the device to be used does
 not have camera capability, the BlueJeans application offers an audio-only option. Video
 appearance, however, is encouraged. Counsel will be provided with a link to connect to the
 conference at the appointed time.

       Briefing is not required, though each counsel should lodge (not file) a one-page statement of
the issues in dispute in the Department before the informal discovery conference.

CONFIDENTIAL DOCUMENT AND PROTECTIVE ORDERS

       Proposed protective orders dealing with confidential documents should state expressly that
nothing in the order excuses compliance with California Rules of Court, rules 2 .550 and 2.551 .
Proposed protective orders that are not compliant with the requirements of the Rules of Court will be
rejected.

THE PRETRIAL CONFERENCE

        The court will schedule a pre-trial conference, generally thirty to sixty days in advance of the
trial. Counsel and the court will discuss the following matters, which counsel should be fully informed
to address:

    •   Whether trial will be by jury or by the court.
    •   Anticipated motions in limine or the need for other pre-trial rulings.
    •   The anticipated length of trial.
    •   The order of proof and scheduling of witnesses, including realistic time estimates for each
        witness for both direct and cross-examination.
    •   If there is a large number of anticipated witnesses, whether counsel wish to have photographs
        taken of each witness to refresh the jury's recollection of each witness during closing argument
        and deliberation.
    •   Whether deposition testimony will be presented by video.
    •   The need for evidentiary rulings on any lengthy deposition testimony to be presented at trial.
    •   Stipulations of fact.
    •   Stipulations regarding the admission of exhibits into evidence.
    •   If there is a large amount of documentary evidence, how the exhibits will be presented in a
        meaningful way for the jury.
    •   The use of technology at trial, including but not limited to electronic evidence.

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                                                                                                     COPY
                               SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


        David Walker                                                                 Case No.:        CIV DS 2 0 2 2 3 1 1
                                   vs.                                               CERTIFICATE OF ASSIGNMENT

     Howmet Aerospace, Inc. et. al.


       A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
       is the residence of a party, name and residence shall be stated.

       The undersigned declares that the above-entitled matter is filed for proceedings in the

~
LL
       San Bernardino District Civil Division
       of this court for the checked reason:
                                              District of the Superior Court under Rule131 and General Order

                     Iii
                    General                       D   Collection
>
m
                           Nature of Action        Ground
  •                   1. Adoption                 Petitioner resides within the district
       •              2. Conservator              Petitioner or conservatee resides within the district.
       •              3. Contract                 Performance in the district is expressly provided for.
      ••              4.
                      5.
                         Equity
                         Eminent Domain
                                                  The cause of action arose within the district.
                                                  The property is located within the district.

     ·••
                      6. Family Law               Plaintiff, defendant, petitioner or respondent resides within the district.
                      7. Guardianship             Petitioner or ward resides within the district or has property within the district.
       •
       •
                      8. Harassment
                      9. Mandate
                                                  Plaintiff, defendant, petitioner or respondent resides within the district.
                                                  The defendant functions wholly within the district.


     ••
                     10. Name Change              The petitioner resides within the district.
                     11. Personal Injury          The injury occurred within the district.

     •               12. Personal Property        The property is located within the district.

      8              13. Probate
                     14. Prohibition
                                                  Decedent resided or resides within or had property within the district.
                                                  The defendant functions wholly within the district.
      •
      ••
                     15. Review
                     16. Title to Real Property
                                                  The defendant functions wholly within the district.
                                                  The property is located within the district.
                     17. Transferred Action       The lower court is located within the district.
       •             18. Unlawful Detainer        The property is located within the district.
       •CR]          19. Domestic Violence
                     20. Other Civil Unlimted
                                                  The petitioner, defendant, plaintiff or respondent resides within the district.
                                                   PAGA action arose in San Bernardino county, where Plaintiff worked


      •              21. THIS FILING WOULD        NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

       The address of the accident, performance, party, detention, place of business, or other factor which qualifies this
       case for filing in the above-designed district is:

     Defendant operates in San Bernardino Coun                                                              11711 Arrow Route
                                                                                                           ADORE S


     Rancho Cucamonga                                                      CA                                                91730.
              CITY                                                                   STATE                                         ZIP CODE


       I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
       executed on October 13, 2020           at Sherman Oaks, CA
       California.
                                                      ·----------------------

                                                                                                                        ·AttorneylP<1rly


     Form# 13-16503-360                                     CERTIFICATE OF ASSIGNMENT                                            Rev. June 2019
     Mandatory Use
